                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

EDUARDO GARCIA and JULIA GARCIA,                  )
                                                  )
                       Plaintiffs,                )
                                                  )
               v.                                 )       No. 20 C 2402
                                                  )
WELLS FARGO BANK, N.A.,                           )       Judge Rebecca R. Pallmeyer
                                                  )
                       Defendant.                 )

                            MEMORANDUM OPINION AND ORDER

       In 2008, two years after refinancing their mortgage, Plaintiffs Eduardo and Julia Garcia

faced a twin crisis. At the same time the national economy cratered—and Mr. Garcia encountered

difficulty finding work—the interest rate on Plaintiffs’ adjustable-rate mortgage skyrocketed. Their

payments, once $1,600 a month, jumped to a monthly payment in excess of $3,000. In a matter

of months, the Garcias were in default, facing foreclosure and at risk of losing their home. In April

2010, Plaintiffs applied for a mortgage modification under then-President Obama’s signature

“Home Affordable Mortgage Program,” known as “HAMP,” a modification which would have

reduced their monthly payments. In hindsight, everyone agrees the Garcias qualified for the loan

modification they sought. Defendant Wells Fargo, the loan servicer for the Garcias’ mortgage

loan, was therefore required to offer them a “trial” modification. If they made three trial payments

on time, Wells Fargo would make the modified payment permanent.

       But in August 2010, Wells Fargo denied Plaintiffs’ application. As Wells Fargo would later

admit, in developing software to evaluate HAMP applications, Wells Fargo introduced an error

that resulted in more than a thousand erroneous denials. As a result, Wells Fargo denied the

Garcias a trial modification that both parties agree it should have granted and that both parties

agree would have reduced Plaintiffs’ monthly payments by more than 50 percent. Wells Fargo

admitted its error in a 2019 apology letter to Plaintiffs and mailed checks totaling $24,500 in

compensation. Wells Fargo later settled a class action stemming from the same error, agreeing
to pay more than $40 million to resolve the claims of approximately 1,250 class members. See

Final Approval Order [337], Hernandez v. Wells Fargo Bank, N.A., No. 3:18-cv-07354 (N.D. Cal.

Jan. 9, 2022). Plaintiffs, not satisfied with the cash payments or the class action recovery, sued

under the Illinois Consumer Fraud and Deceptive Business Practices Act (“ICFA”). 1

       Wells Fargo now moves for summary judgment, arguing that Plaintiffs cannot show its

conduct was “unfair” under ICFA because they could have accepted an earlier modification offer,

but chose not to do so: Specifically, in March 2010, Wells Fargo offered Plaintiffs an opportunity

to modify their loan under Wells Fargo’s standard loss mitigation procedures.            Under that

modification proposal, Plaintiffs would have paid approximately $3,000 up front and $1,871 per

month thereafter, about $500 more per month than the offer Plaintiffs should have received under

HAMP. Wells Fargo now contends that, had Plaintiffs accepted this earlier modification offer, the

HAMP error would not have occurred—meaning, according to Wells Fargo, that Plaintiffs’ refusal

to accept the earlier offer defeats their unfairness claim. Wells Fargo argues, further, that, even

if Plaintiffs had received the HAMP trial modification to which they were entitled, they would have

ended up in foreclosure anyway.

       As explained below, these arguments are insufficient to support summary judgment. True,

Plaintiffs may have been able to afford the earlier modification. And it is also true that Plaintiffs

may have been unable to afford the payments required under the HAMP modification, meaning

that they would have lost their home even if their application for a HAMP modification had been

granted. But those are factual disputes for the jury to weigh, not for the court to decide.




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               Plaintiffs were one of six parties to opt out of the Hernandez settlement. See
Declaration of Jennifer Keough in Support of Motion for Settlement Approval, Ex. C [284-3],
Hernandez v. Wells Fargo (August 10, 2020) (listing five opt-outs, including Eduardo Garcia, for
original class settlement); Final Post-Distribution Accounting [344], Hernandez v. Wells Fargo
(Nov. 29, 2022) (listing one opt-out among supplemental class of borrowers).


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                                   FACTUAL BACKGROUND

I.     Plaintiffs Refinance Their Mortgage at a Subprime Adjustable Rate.

       In January 2006, Plaintiffs refinanced the mortgage on their home at 407 Beach Avenue

in LaGrange Park, Illinois. (Defendant’s Local Rule 56.1 Statement of Undisputed Material Facts

[105] (“DSOF”) ¶ 15; Plaintiffs’ Statement in Response to Defendant’s Local Rule 56.1 Statement

of Undisputed Material Facts [127] (“PSOFR”) ¶ 13.) America’s Servicing Company—a division

of Wells Fargo2—took over loan servicing duties a few months later. (PSOFR ¶ 13.)

       When Plaintiffs refinanced, they signed an adjustable rate note for $223,000. (See Note

[101-13].) The interest rate on that note was initially 8.14 percent—resulting in a monthly payment

of $1,658.11—but would begin fluctuating in February 2008 and could increase up to 15.14

percent. (Id.) Mrs. Garcia testified that, while the Garcias understood the rate could fluctuate,

the financial institution who provided financing told them this was not a concern because they

would be able to refinance at an affordable rate later. (Deposition of Julia Garcia (“J. Garcia

Dep.”) 3 at 84:7–24.) As it turned out, when their interest rate skyrocketed in early 2008, pushing

their monthly payment above $3,000, the Garcias were not able to refinance because housing

prices had begun to crash. (Id. at 85:1–12; DSOF ¶ 20; PSOFR ¶ 20.)

II.    Plaintiffs Encounter Financial Difficulties and Fall Behind on Their Mortgage.

       Mr. Garcia initially worked as an independent carpenter (DSOF ¶ 6) and later formed a

business called Woodland Lumber, which dissolved in November 2006, not long after it started.

(Id. ¶ 11.) Before Woodland dissolved, the Garcias learned that their business partners had

absconded with between $20,000 and $40,000, including Plaintiffs’ entire investment in the



       2
             The court will refer to “Wells Fargo” when describing actions taken by America’s
Servicing Company.
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                Plaintiffs and Defendant have submitted separate excerpts of Julia Garcia’s and
Eduardo Garcia’s depositions, pages of which overlap. (See [101-2] and [130-1]; [101-1] and
[130-2].) For ease of reference, the court will cite just to “J. Garcia Dep.” or “E. Garcia Dep.” and
will not otherwise specify the exhibit number.

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business. (Id. ¶¶ 12–13.) After Woodland dissolved and the 2008 financial crisis loomed, Mr.

Garcia found it difficult to find work. (Id. ¶ 14.) As Plaintiffs’ financial problems mounted, they

stopped making their car payments so that they could continue to stay current on their mortgage

obligation. (Id. ¶ 16; Deposition of Eduardo Garcia (“E. Garcia Dep.”) at 88:6–25.)

       In February 2007, when Plaintiffs fell behind on those payments, Wells Fargo offered and

Plaintiffs accepted their first Temporary Forbearance Agreement. (DSOF ¶ 18.) They made all

the required payments under that Agreement and brought their loan current by September 2007.

(Id. ¶ 19; Feb. 2007 Temporary Forbearance Agreement [101-15].) In March 2008, however,

Plaintiffs’ mortgage payments increased from $1,658 to around $3,000. (DSOF ¶ 20). That same

month, worried about their ability to pay $3,000 per month over the long term, the Garcias applied

for a loan modification, which was evaluated under Wells Fargo’s standard (non-HAMP) loss

mitigation process. Wells Fargo denied the Garcias’ request because their expenses exceeded

their income. (Id.; see also March 2008 Denial Letter [101-16].) By September, the increased

payments became too much for the Garcias; they fell behind again and were notified that they

were in default. (DSOF ¶ 21.)

       Over the next several months, the Garcias entered into two other forbearance plans, but

they were unable to make the required payments. (See id. ¶ 22 (detailing failure to comply with

non-HAMP forbearance plans in September 2008 and August 2009).) 4 In December 2009, Mr.

Garcia wrote a letter to Wells Fargo, explaining that the Garcias had been victims of fraud, were

left with many debts, and that Mr. Garcia was having trouble finding work. (Id. ¶ 24.) In January

2010, Plaintiffs were again denied a loan modification, purportedly because they “did not provide



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               Plaintiffs wrote “disputed” in response to Paragraph 22, but the content of their
response makes clear that they do not dispute the facts, but rather how those facts should be
characterized. (See PSOFR ¶ 22 (noting that the “Special Forbearance Plans” at issue “were not
HAMP modifications”); see also November 2008 Letter [101-20] (detailing failure to comply with
September 2008 agreement); September 2009 Letter [101-21] (detailing failure to comply with
August 2009 agreement).)


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. . . all of the information needed” (January 2010 Denial [101-28]), though Plaintiffs claim that they

repeatedly did send the required documents. (See PSOFR ¶ 38.) 5

III.   The HAMP Program Is Created During the Financial Crisis.

       In response to the financial crisis—specifically, in response to the massive spike in default

and foreclosure rates—then-President Obama announced the creation of HAMP in February

2009. (Expert Report of Peter M. Ross [102-1] (“P. Ross Rep.”) ¶¶ 18–20.) The program went

into effect in April. (Id.) HAMP was intended to balance the financial interests of borrowers and

lenders/investors. (Id. ¶ 26.) To that end, HAMP directed that lenders evaluate loan modification

requests using a formula that assessed whether “the financial return for investors from a

modification was superior to the anticipated financial outcome of foreclosure proceedings.” (Id.)

Put differently, borrowers would qualify for a HAMP modification if a modification also served the

financial interests of their lender. To qualify for such a modification, a borrower had to meet

certain requirements. A borrower had to have a first lien mortgage loan, the loan had to be in

default, the borrower had to document financial hardship, and the borrower’s pre-modification

monthly housing payment had to exceed 31 percent of their income. (Id. ¶ 29.) If a borrower met

these requirements and submitted necessary paperwork, a sequential series of reductions would

be applied to the loan until the payment was equal to or less than 31 percent of the borrower’s

income. (Id. ¶ 34.) Under that process, servicers would first capitalize the past due balance, then

lower the interest rate, then extend the remaining term up to 480 months, and finally would reduce

or defer the principal balance until it produced a monthly payment that was less than 31 percent

of the borrower’s gross income. (Id.)

       Borrowers who qualified for a HAMP modification were required to first make three

successful “trial” payments in full and on time before their loan would be permanently modified.



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              The same thing happened in December 2010, when Wells Fargo apparently did
not receive the documents Plaintiffs claim they sent. (See December 2010 Denial [101-29];
DSOF ¶ 38; PSOFR ¶ 38.)

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(Id. ¶ 36.) As an incentive to servicers, for every borrower whose loan was successfully modified,

the Treasury Department would pay the servicer $1,000 up front and $1,000 annually for up to

five years thereafter, so long as the borrower remained current. (Id. ¶ 45.)

IV.    The March 2010 Modification Offer.

       In March 2010, Wells Fargo offered the Garcias a loan modification that required them to

make a one-time $3,000 down payment and monthly payments of $1,871. (Plaintiffs’ Local Rule

56.1 Statement of Additional Material Facts (“PSOAF”) ¶ 37.) That modification was not offered

under HAMP. 6 (Id.) According to the Garcias, to comfortably afford their mortgage, the payments

would have had to be $200 or $250 below the $1,871 payment proposed by this March 2010

modification offer. (Id. ¶ 38.) While Plaintiffs now dispute whether they technically “declined” the

modification (see DSOF ¶ 27; PSOFR ¶ 27), Mr. Garcia testified that the family decided not to

accept the modified payment because they needed a lower payment “to be completely certain

that [they] would be able to continue on with it.” (E. Garcia Dep. at 138:4–20; see also April 2010

Letter [101-24] (noting that “[a]s [he] requested,” Wells Fargo was cancelling Mr. Garcia’s request

for a loan modification).)   Mr. Garcia recalled being concerned that Mrs. Garcia’s medical

situation—as discussed below, she suffers from fibromyalgia, depression, and chronic

migraines—was precarious and could become more challenging, which could prevent her from

working, and affect the family financially. (E. Garcia Dep. at 139:6–22.)

       Mrs. Garcia similarly testified that their “intention was to negotiate” with Wells Fargo for a

lower payment so they could “be sure [they] can pay [their] mortgage in a long term” rather than

relying on others to help with the payments. (J. Garcia Dep. at 126:7–15.) Had she understood

it was her last opportunity, Mrs. Garcia explained, she would nevertheless have found a way to

make the $1,871 monthly payments, but that “with all the media talking about . . . this program,



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              The parties do not explain why the modification Wells Fargo offered the Garcias
was not under HAMP. But, as discussed below, Wells Fargo had only agreed to participate in
HAMP earlier that same month. See Background Section V, infra.

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affordable house from President Obama,” the Garcias believed Wells Fargo would work with them

in good faith to modify their mortgage under HAMP. (Id. at 134:16–135:11.) Mrs. Garcia later

reiterated that, if she had understood that Wells Fargo would not negotiate further, the family

would have found a way to make their payments, whether it was by “wash[ing] cars in the church,

sell[ing] baking goods, asking family, whatever.”     (Id. at 136:11–22.)   Given the economic

circumstances at the time, Mrs. Garcia understood that “[b]anks were working to help people to

keep their houses,” though she also understood that “if you don’t pay something, they will take”

the house. (Id. at 137:17–21.) She believed, though, that the bank was “obligated by the

government, by the program that the President implemented,” to negotiate with the Garcias and

help them keep their home. (Id. at 174:12–23.) Instead, according to Mrs. Garcia, Wells Fargo

“never assigned a human being to talk to [her] on the phone, or [her] husband, and explain and

negotiate with [them] . . . the affordable housing, according to [their] budget, as the program of

President Obama implemented.” (Id. at 42:14–20.)

       Mr. Garcia testified that, while he understood the family would lose their house to

foreclosure without a modification, he was nevertheless unwilling to accept the modification Wells

Fargo was offering because, unless they could reach an agreement that would set their monthly

payments below the $1,871 per month proposed in March 2010, the Garcias “would again be

faced with the same problem.” (E. Garcia Dep. at 141:23–142:17.)

V.     Wells Fargo Erroneously Denies Plaintiffs’ HAMP Application.

       When Wells Fargo agreed to participate in the HAMP program in March 2010, it executed

a Service Participation Agreement and agreed to comply with Treasury regulations and guidance.

(PSOAF ¶¶ 5–6; Servicer Participation Agreement [130-17] at WF_GARCIA_00003030.) Under

HAMP and its various related agreements, Wells Fargo was required to consider delinquent

borrowers for a HAMP modification before proceeding with foreclosure. (PSOAF ¶ 11.)

       During the time Wells Fargo was considering HAMP modifications, a calculation error in

the software application Wells Fargo used to determine eligibility—called the “Home Preservation

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Application Tool” or “HPA Tool”—caused Wells Fargo to erroneously deny trial loan modifications

for a number of borrowers facing foreclosure. (DSOF ¶¶ 3–4.) In April 2010, Plaintiffs applied for

a HAMP trial loan modification, but they were improperly denied in August 2010 because of the

HPA tool error. (Id. ¶ 33.) Had Wells Fargo offered Plaintiffs the HAMP modification to which

they were entitled, the Garcias would not have owed any one-time down payment, and their

monthly payments would have been reduced to $1,348.48. (PSOAF ¶¶ 39–40). Wells Fargo

announced the error years later, in June 2018, and offered no-strings-attached cash payments to

affected borrowers, including the Garcias. 7 (DSOF ¶¶ 3, 5.)

       At the time they were erroneously denied, the Garcias had not made a mortgage payment

in many months. (Id. ¶ 37; PSOFR ¶ 37.) Mr. Garcia testified that he understood that if he and

his wife had been approved for a HAMP modification, they would have been required to make

trial payments, which they had failed to do under previous (less generous) modification offers. (E.

Garcia Dep. at 174:23–175:20.) But he testified that, without Wells Fargo’s errors, the family

“would have had a chance” to keep their house. (Id. at 175:21–176:9.) He said that he believed

he and his wife could have afforded a $1,600 payment in late 2010 “even though back in March

2010 the $1,871 payment was too much.” (Id. at 144:5–12.)

VI.    Plaintiffs Lose Their Home in Foreclosure.

       In January 2009, Wells Fargo filed a foreclosure complaint against Plaintiffs.

(DSOF ¶ 42.) Judgment was entered against them in September of that year. (Id.) After the

erroneous HAMP denial in August 2010, the Garcias were denied another modification in

February 2011. (Id. ¶ 39.) Shortly thereafter, their home was sold in foreclosure. (Id. ¶ 42.)

Though the parties dispute the precise details, both sides agree the Garcias were behind by many


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                Specifically, Wells Fargo sent Plaintiffs two checks—one for $14,500 in July 2019
and a second for $10,000 in November 2019. (DSOF ¶ 5.) Plaintiffs never affirmatively cashed
those checks, but Wells Fargo later paid the $24,500 to their bankruptcy estate. See Order
Granting Turnover of Funds [54], In re Eduardo Garcia and Julia Escamilla, No. 11-22208 (Bankr.
N.D. Ill. June 1, 2021) (directing Wells Fargo to pay the $24,500 as property of the estate).


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months at the time of the sale. (Id. ¶ 43, PSOFR ¶ 43.) In May 2011—three months after the

foreclosure sale—Plaintiffs filed for bankruptcy, seeking to discharge $130,000 in unsecured debt

and the deficiency judgment that followed them after the foreclosure. (DSOF ¶ 44.)

       Mr. Garcia’s credit was negatively affected in part because the Garcias failed to pay their

mortgage. (Id. ¶ 66.) Mr. Garcia acknowledged, however, that he did not recall attempting to

learn his actual score before or after the foreclosure. (E. Garcia Dep. at 248:18–21.)

VII.   Plaintiffs Suffer the Consequences of Losing Their Home.

       Mrs. Garcia has fibromyalgia, depression, and migraines, all of which predate the

erroneous HAMP denial. (DSOF ¶¶ 45, 53.) According to Anita Pillai, Mrs. Garcia’s physician,

her fibromyalgia and migraines began after a “long ago” car crash. (See Deposition of Dr. Anita

Pillai (“A. Pillai Dep.”) [101-34] at 94:24–95:5.) Dr. Pillai was unable to attribute a specific

percentage of Mrs. Garcia’s pain “to Wells Fargo,” but agreed that foreclosure-related stress

“could be one of the contributing factors” to her medical issues. (Id. at 94:9–23, 114:2–17.) 8

According to Mrs. Garcia, though she began having migraines in 1994, they had “all but gone

away by approximately 2004” until they returned when “the issues with [the Garcias’] Family Home

began.” (See Interrogatory Responses [101-37] at 13–14.) Likewise, she testified that she does

not claim Wells Fargo caused her fibromyalgia, but she said it had been “very manageable” and

it was exacerbated by stress. (J. Garcia Dep. at 256:10–17; see also Interrogatory Responses

[101-37] at 14.) Mrs. Garcia also said that the lawsuit against Wells Fargo itself caused her stress.

(J. Garcia Dep. at 259:17–22.)

       As for depression, Mrs. Garcia testified that she was diagnosed in 2009 or 2010 and that

her symptoms were worst when the family was losing their home. (Id. at 75:6–23.) Mrs. Garcia

said that, when she was diagnosed “around the time that we were almost losing the house,” she



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               Notes from two other doctors Mrs. Garcia saw for pain-related issues do not reflect
that she mentioned Wells Fargo or the foreclosure. (DSOF ¶ 48; but see PSOFR ¶ 48 (noting
that both were specialists and were not treating Mrs. Garcia for stress-related issues).)

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pleaded with her doctor not to tell her that she was depressed because she “didn’t want to accept

it.” (Id. at 253:9–18.) Dr. Pillai said that Mrs. Garcia at one appointment “was in tears crying

about losing their home and not having money and not being able to afford another home.” (A.

Pillai Dep. [130-8] at 37:2–5.) Mrs. Garcia stated that she has never gone to psychotherapy

because she been “focused on the physical part of [her] illness” and did not “pay attention to [her]

emotional health.” (J. Garcia Dep. at 277:21–278:3.) But she later clarified that she does “take

care of [her] emotional part,” for example through “informal support, like pastoral care and spiritual

care, which means a lot to [her] and help[s] [her] a lot.” (Id. at 278:4–18.)

       After the family had to move, Mrs. Garcia said she “started to feel worst and worst” and

began to “doubt . . . [her] ability to keep up with [her] job.” (Id. at 253:19–25.) Receiving the

eviction notice, Mrs. Garcia said, was “the worst part” and left her “feeling really down.” (Id. at

255:3–13.) Mrs. Garcia said that their “lives [were] like hell after that, hell to get an apartment to

be in the same school district that [their] daughter needed because of special education services

in La Grange Park.” (Id. at 39:11–18.) She continued: “[A]nd Wells Fargo [is] sitting there, over

there knowing—knowing that they made this mistake, but they never told me until 2019. Isn’t that

malicious?” (Id. at 39:20–23.) Mrs. Garcia admitted to having emotional problems during the

2008 and 2009 loan modification processes, 9 but said “the worst part was when [we] finally had

to move out, and I got so down, so down.” (Id. at 255:14–19.) Mrs. Garcia said the same was

true of her marriage—there were financial-related stressors starting in 2008, but those issues

worsened as the foreclosure progressed. (Id. at 214:9–17.)

       According to Mrs. Garcia, the stress also affected her career. At the time of the erroneous

HAMP denial, she worked as a “program manager” at the Alivio Medical Center, where she had

been since 2003. (DSOF ¶¶ 7–8.) She ultimately left Alivio around 2012. (J. Garcia Dep. at



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              Mr. Garcia likewise testified that Mrs. Garcia’s health deteriorated during the
negotiation process with Wells Fargo, including during the time before they rejected the
March 2010 modification offer. (E. Garcia Dep. at 222:2–223:4.)

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53:15–17.) While Mrs. Garcia admitted to having “regular . . . professional disagreements,” she

insisted that the disagreements were not he reason she left the job. (Id. at 63:5–14.) Testimony

from Mrs. Garcia’s former coworkers and daughter suggests that the disagreements did play at

least some role in the end of her employment with Alivio, but also that her medical issues became

more serious near the time she left. (DSOF ¶ 9; but see PSOFR ¶ 9 (providing additional

context).)   For example, Mrs. Garcia’s former coworker, Elena Briseño, testified that she

understood Mrs. Garcia left Alivio because of disagreements with her supervisors over the

organization’s strategy. (See Deposition of Elena Briseño [130-5] at 49:11–50:25.) But Briseño

also said that Mrs. Garcia “suddenly became sad and seemed sick” and when Briseño asked her

about it, she mentioned the risk that the family might lose their home. (Id. at 25:5–26:25.) Briseño

observed that Mrs. Garcia went to the doctor “a lot more often when she was going to lose her

house.” (Id. at 71:3–8.) Susan Vega, another of Mrs. Garcia’s former coworkers, testified

similarly. (See Deposition of Susan Vega [101-12] at 32:7–19; [130-6] at 57:23–58:14 (testifying

that Mrs. Garcia left Alivio because of abusive behaviors by her boss, but also that Mrs. Garcia’s

issues became “very, very severe” shortly before the family had to move).)

       Mrs. Garcia’s daughter Miriahm said that her mother left Alivio because “she just didn’t

like how things were playing out at work, and she just didn’t agree to certain things” so she “didn’t

wish to continue working there.” (Deposition of Miriahm Garcia [101-9] at 108:23–109:7.) Miriahm

also testified, however, that her mom started becoming “overtaken by work” in 2010—around the

time of the HAMP modification effort—and was “exhausted a lot” by her work and “struggling with

health complications.” (Id. [130-4] at 61:3–62:9.) Finally, Mrs. Garcia’s spiritual advisor, Martha

Koehler, understood there was a “change of executive director” at Alivio that may have contributed

to Mrs. Garcia leaving, but also that Mrs. Garcia was having “some health issues and a lot of

stress” at the time she resigned. (Deposition of Martha Koehler [101-12] at 108:19–109:7.)

       For her part, Mrs. Garcia said that she left her job because she could not “do it anymore”

and could not “focus [her]self in doing everything that [she] used to do all the time easily.” (J.

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Garcia Dep. at 255:19–24.) She was “crying all the time,” including at work. (Id. at 255:3–13.)

Mrs. Garcia testified that her “health got in the way” and she “started having very bad migraines”

because—she believes—of “the stress” from “battling with Wells Fargo.” (Id. at 55:12–56:24.)

She explained that she had a lot going on at work but got “really, really preoccupied” with the

possibility that the family would lose their home, and she was constantly trying to send Wells

Fargo documents she had already sent, at the same time she was juggling work. (Id. at 56:25–

57:18.)

          Mrs. Garcia testified that she has had no steady full-time employment since leaving Alivio

in part because of health issues, for which she blames Wells Fargo. (Id. at 73:4–20 (testifying

that her health issues have “accumulat[ed] . . . like a snowball”).) Mr. Garcia likewise testified that

he believed Mrs. Garcia stopped working because of the foreclosure, after which her “sickness

came down upon her with more gravity.” (E. Garcia Dep. at 220:4–12.)

          There is a less robust record on Mr. Garcia’s emotional distress and its causes. Mr.

Garcia testified that being out of work made him feel angry, anxious, and frustrated at times. (Id.

at 93:12–15, 104:4–15, 105:17–24.) But he also testified about the guilt and shame he felt around

the foreclosure. He said that that “[f]or a long time” he and Mrs. Garcia “thought [they] had done

things very badly” and caused the foreclosure. (Id. at 168:6–13.) He said he felt guilty and blamed

himself for what followed, including Mrs. Garcia’s “health situation” and issues with their son

Byron, who “had not been able to finish his education.” (Id. at 168:8–24.) He later explained that

“for many years” he believed he “was in error until [he] received [Wells Fargo’s] letter,” at which

point he realized “they are in error.” (Id. at 268:7–13.)

          Mrs. Garcia also testified to her husband’s stress. She said that, although Mr. Garcia had

been stressed over finances before, “when [they] had to leave the house,” he “became so, like,

isolated.” (J. Garcia. Dep. at 209:23–25.) She said that Mr. Garcia is part of a large family that

often celebrates together, but “after [Wells Fargo] took the house, he didn’t want to go to any

family parties. He didn’t want to go even to church. He didn’t want to see not even his parents

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that are old.” (Id. at 209:25–210:13.) Mr. Garcia testified that filing this lawsuit against Wells

Fargo caused him emotional distress as well. (E. Garcia Dep. at 229:17–25.)

                                            DISCUSSION

I.     Procedural History

       In April 2020, Plaintiffs brought a two-count complaint under this court’s diversity

jurisdiction, 10 charging Wells Fargo with common law negligence and with violating the Illinois

Consumer Fraud Act [1]. On Wells Fargo’s motion, the court dismissed the negligence count.

See Maxwell as Trustee for Estate of Garcia v. Wells Fargo Bank, N.A., No. 20-cv-2402, 2021

WL 1209023, at *5–6 (N.D. Ill. Mar. 31, 2021) (dismissing negligence claim because HAMP does

not create a duty of care for mortgage servicers). The ICFA claim survived the motion. Wells

Fargo answered [25], the parties engaged in discovery, and Wells Fargo now seeks summary

judgment on Plaintiffs’ ICFA claim [100].

II.    Legal Standard

       “The Court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” FED.

R. CIV. P. 56(a); Wackett v. City of Beaver Dam, 642 F.3d 578, 581 (7th Cir. 2011). A genuine

dispute of material fact exists if “the evidence is such that a reasonable jury could return a verdict

for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

       While the court may not weigh conflicting evidence or make credibility determinations, the

party opposing summary judgment must point to competent, admissible evidence that

demonstrates a genuine dispute of material fact. Omnicare, Inc. v. UnitedHealth Grp., Inc.,

629 F.3d 697, 705 (7th Cir. 2011). In assessing the evidence at summary judgment, the court

considers the facts in the light most favorable to the non-moving party, giving that party “the



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               The Garcias are citizens of Illinois. (DSOF ¶ 1.) Wells Fargo is a national banking
association with its main office in South Dakota and its principal place of business in California.
(Id.)

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benefit of all conflicts in the evidence and reasonable inferences that may be drawn from the

evidence.” Fish v. GreatBanc Tr. Co., 749 F.3d 671, 674 (7th Cir. 2014).

        This court's local rules require a party moving for summary judgment to file a statement

of material facts, consisting of “concise numbered paragraphs” supported by citations to “specific

evidentiary material.” L.R. 56.1(a)(2), (d). The non-movant must file a responsive statement that

admits or disputes each asserted fact. L.R. 56.1(b)(2), (e). “A general denial is insufficient to

rebut a movant's factual allegations; the nonmovant must cite specific evidentiary materials

justifying the denial.” Malec v. Sanford, 191 F.R.D. 581, 584 (N.D. Ill. 2000); see also L.R.

56.1(e)(3).

III.   Analysis

       A claim under ICFA requires: “(1) a deceptive act or practice by the defendant, (2) the

defendant's intent that the plaintiff rely on the deception, (3) the occurrence of the deception in a

course of conduct involving trade or commerce, and (4) actual damage to the plaintiff that is (5) a

result of the deception.” De Bouse v. Bayer AG, 235 Ill. 2d 544, 550, 922 N.E.2d 309, 313 (2009).

This framework is articulated in terms of “deceptive” acts and practices, but it applies to allegations

of “unfair” acts and practices as well. Phila. Indem. Ins. Co. v. Chi. Title Ins. Co., 771 F.3d 391,

402 (7th Cir. 2014). Wells Fargo argues that: (1) Plaintiffs cannot establish that its error in

processing Plaintiffs’ HAMP modification application was unfair; (2) Plaintiffs cannot show actual

damages; and (3) Plaintiffs cannot show that Wells Fargo proximately caused those damages.

(See Memorandum of Law in Support of Defendant’s Motion for Summary Judgment (“Def.’s Br.”)

at 6.) The court evaluates those positions in turn.

       A.      Plaintiffs Have Sufficiently Established Unfairness Under ICFA.

       To evaluate whether conduct is “unfair” under ICFA, courts consider “1) whether the

practice offends public policy; (2) whether it is immoral, unethical, oppressive, or unscrupulous;

[and] (3) whether it causes substantial injury to consumers.” Robinson v. Toyota Motor Credit

Corp., 201 Ill. 2d 403, 417–18, 775 N.E.2d 951, 961 (2002). “All three criteria do not need to be

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satisfied to support a finding of unfairness. A practice may be unfair because of the degree to

which it meets one of the criteria or because to a lesser extent it meets all three.” Id. at 418

(quotation marks and citation omitted). Unfairness under ICFA “depends on a case-by-case

analysis.” Siegel v. Shell Oil Co., 612 F.3d 932, 935 (7th Cir. 2010).

       Wells Fargo implicitly concedes that its failure to properly evaluate Plaintiffs for a HAMP

modification offended public policy. (See Def.’s Br. at 6–11 (discussing only the second and third

unfairness criteria).) Indeed, it is undisputed that Wells Fargo executed a Servicer Participation

Agreement in which it promised to administer the HAMP program in compliance with Treasury

regulations and guidance. (PSOAF ¶¶ 5–6.) But a Wells-Fargo-induced software error caused it

to deny applications for a HAMP trial modification submitted by Plaintiffs (and many other

borrowers); Plaintiffs could not have known about this error until well after the fact.       (See

DSOF ¶¶ 3–5, 33; Wells Fargo 30(b)(6) Dep. [130-12] at 130:21–131:2.)

       “A practice offends public policy under ICFA where it violates statutory or administrative

rules establishing a certain standard of conduct.” Saccameno v. Ocwen Loan Servicing, LLC,

372 F. Supp. 3d 609, 630 (N.D. Ill. 2019) (quotation marks omitted). As is now well established,

“[v]iolations of agency directives” like those implementing HAMP “can be a hallmark of unfairness

under the ICFA.” See Boyd v. U.S. Bank, N.A., 787 F. Supp. 2d 747, 753 (N.D. Ill. 2011) (violating

HAMP directives states a claim under ICFA); see also Lowry v. Wells Fargo Bank, N.A., No. 15-

cv-4433, 2016 WL 4593815, at *7 (N.D. Ill. Sept. 2, 2016) (“Failure to honestly and effectually

implement HAMP guidelines constitutes an unfair business practice under the ICFA.”).

       Rather than challenge the assertion that failure to implement HAMP violated public policy,

Wells Fargo attacks only the second and third unfairness criteria, which ask whether the violation

caused substantial injury to the Garcias and/or was “immoral, unethical, oppressive, or

unscrupulous.” See Robinson, 201 Ill. 2d at 417–18, 775 N.E.2d at 961. Plaintiffs may be able

to establish that Wells Fargo’s conduct was “unfair” even if they do not establish both substantial



                                                15
injury and oppressive conduct. See id. (“All three criteria do not need to be satisfied to support a

finding of unfairness”).

         The court nonetheless addresses both issues, holding that there are disputed material

facts relevant to both.

                1.        Substantial Injury

         Wells Fargo does not suggest that Plaintiffs’ alleged injuries—which include losing their

family home—are not “substantial.” Instead, according to Wells Fargo, Plaintiffs’ “decision to

reject Wells Fargo’s March 2010 modification offer” defeats Plaintiffs’ ICFA claim as a matter of

law because Plaintiffs must show not only that they were injured, but also that they could not have

avoided those injuries. (Def.’s Br. at 10.) The parties agree that Wells Fargo offered Plaintiffs a

(non-HAMP) loan modification in March 2010 under which Plaintiffs would have made a one-time

$3,000 down payment and monthly payments of $1,871 thereafter. (PSOAF ¶ 37.) It is also

undisputed that Plaintiffs did not accept that modification, though the parties quibble about

whether Plaintiffs “decline[d]” it. (See DSOF ¶ 27; PSOFR ¶ 27; Defendant’s Reply to PSOFR

at 4.)

         According to Wells Fargo’s read of the evidence, Plaintiffs “admit . . . they could have

afforded” that loan modification and chose not to accept it. (Def.’s Br. at 11.) If that were

undisputed, summary judgment might be warranted. But it is not. To be sure, there is some

evidence that Plaintiffs might have afforded the March 2010 modification if they had tried. As

Wells Fargo repeatedly notes, Mrs. Garcia testified that if someone had told her “Mrs. Garcia, if

you don’t take this last opportunity, we’re going to sell your house,” she would have “f[ound] a

way” to pay the $1,871 per month. (See J. Garcia Dep. at 136:11–15.) She said she did not

know exactly how they would have come up with the money, but the family would “wash cars in

the church, sell baking goods, ask[] family, whatever, if [Wells Fargo] would have explained to

[her] that it was the last one.” (Id. at 136:16–22.) In the court’s view, Mrs. Garcia’s testimony

about how desperately she would have worked to keep her family home hardly demonstrates that

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the Garcias actually had the means to afford a monthly payment $500 greater than the one to

which they were entitled. There are only so many bake sales and car washes one family can

muster.

       In any event, Wells Fargo’s summary of the evidence does not paint a full picture of

Plaintiffs’ testimony. As Mrs. Garcia testified, Plaintiffs “intention” when they opted not to accept

the March 2010 modification “was to negotiate” with Wells Fargo for a lower payment so they

could “be sure [they] can pay [their] mortgage in a long term” rather than relying on others to help

with the payments “every month.”        (Id. at 126:7–23.)    Mr. Garcia likewise testified that he

understood that the family would lose their house to foreclosure without a modification, but he

believed that unless they could negotiate a modification setting their monthly payment below

$1,871, they “would again be faced with the same problem,” i.e., facing default and foreclosure.

(E. Garcia Dep. at 141:23–142:17.) Put differently, Mr. Garcia explained that the family declined

the proposed modification because unless they were offered a lower monthly payment, they were

not “completely certain that [they] would be able to continue on with it.” (Id. at 138:4–20.) Mrs.

Garcia echoed her husband, testifying that a payment of $1,600 versus $1,900 would have made

“a big difference” in Plaintiffs’ ability to pay over the long term. (J. Garcia Dep. at 135:23–136:8.)

       Mrs. Garcia testified that she believed Wells Fargo was “obligated by the government, by

the program that the President implemented,” to negotiate with the Garcias and help them keep

their home. (Id. at 174:12–23.) Though not every delinquent borrower qualified for HAMP, as it

turns out, the Garcias did. Wells Fargo was indeed required by law to evaluate the Garcias for

HAMP before foreclosing. (PSOAF ¶ 11.) And if Wells Fargo had used an error-free software

tool, Plaintiffs would have been offered a HAMP trial modification with no up-front payment and

monthly payments of $1,348.48. (Id. ¶¶ 39–40.) In other words, the HAMP trial modification

Plaintiffs were erroneously denied would have saved them $3,000 up front and $523 per month

more than the March 2010 non-HAMP modification they passed up. Their payments would have

been substantially lower than the $1,600 per month they planned to stretch to afford.

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        Given the dispute about whether the Garcias could have afforded the $1,871 per month

non-HAMP modification over the long term, the court cannot conclude that Plaintiffs could

“reasonably have avoided” their injury in this case—namely, the foreclosure and eventual sale of

their family home. See Phillips v. Double Down Interactive LLC, 173 F. Supp. 3d 731, 743 (N.D.

Ill. 2016). If, as their testimony suggests (and as seems likely), the Garcias could have paid

$1,871 per month only for a short period, and only with the help of family or other community

members, a reasonable jury could conclude that Plaintiffs would have “again be[en] faced with

the same problem,” as Mr. Garcia put it. (E. Garcia Dep. at 141:23–142:17.) In other words, their

injury may not have been avoidable.

        The caselaw Wells Fargo cites does not suggest otherwise. In Siegel, for example, the

Seventh Circuit affirmed summary judgment in a case alleging unfair conduct that inflated gas

prices. 612 F.3d at 933–34. But in that case, the plaintiff “testified that he could (and did)

purchase gasoline from stations owned by non-defendants.” Id. at 937. Here, on the other hand,

Wells Fargo was the Garcia’s only source for the HAMP trial modification to which they were

entitled. Wells Fargo’s other citations are unavailing for similar reasons. See Batson v. Live

Nation Ent., Inc., 746 F.3d 827, 834 (7th Cir. 2014) (plaintiff could have avoided bundled parking

fee at concert venue by “opting instead for alternative entertainment”); Phillips, 173 F. Supp. 3d

at 743 (plaintiff could have avoided injury by choosing not to continue buying virtual chips at online

casino); Mullen v. GLV, Inc., 488 F. Supp. 3d 695, 712 (N.D. Ill. 2020) (plaintiff could have avoided

injury by enrolling her children at a different volleyball club).

        Wells Fargo might ultimately convince a jury that the Garcias’ loss of their home “could

reasonably have been avoided” if they had accepted the more expensive non-HAMP modification.

See Batson, 746 F.3d at 834. But, given the disputed material facts on the issue, a reasonable

jury might not be convinced.




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               2.      Immoral, Unethical, Oppressive, or Unscrupulous Conduct

       “[A] practice may be considered immoral, unethical, oppressive, or unscrupulous if it

imposes a lack of meaningful choice or an unreasonable burden on the consumer.” Saccameno,

372 F. Supp. 3d at 631 (quotation marks and citation omitted); see also Saunders v. Mich. Ave.

Nat’l Bank, 278 Ill. App. 3d 307, 313, 662 N.E.2d 602, 608 (1st Dist. 1996) (oppressive conduct

“leave[s] the consumer with little alternative but to submit”). In addition to challenging their injury

claim, Wells Fargo argues that Plaintiffs cannot establish unfair conduct because they cannot

show that Wells Fargo’s failure to properly evaluate them under HAMP was immoral, unethical,

oppressive, or unscrupulous. (Def.’s Br. at 7–10.) This argument is akin to the one already

addressed, in that Wells Fargo emphasizes that the Garcias had a way to avoid Wells Fargo’s

allegedly unfair conduct: by accepting the $1,871 per month non-HAMP modification. Thus, Wells

Fargo contends, their conduct does not qualify as oppressive. 11

       At the outset, the court believes there is enough to Plaintiff’s ICFA claim to reach a jury

even if Wells Fargo’s conduct was not oppressive. Recall that “[a] practice may be unfair because

of the degree to which it meets one of the criteria or because to a lesser extent it meets all three.”

Robinson, 201 Ill. 2d at 418, 775 N.E. 2d at 961 (quotation marks and citation omitted). Here,

Wells Fargo’s conduct indisputably violated public policy, and Plaintiffs have a reasonably strong

position on substantial injury. Indeed, other cases considering violations of HAMP have not even

discussed oppressiveness, either because those courts assumed that criterion was met or

because they found unfairness without it. See, e.g., Boyd, 787 F. Supp. 2d at 754 (“Taken

together,” a violation of HAMP and damages flowing from those violations “state an unfair conduct

claim under the ICFA”); David v. Bayview Loan Servicing, LLC, No. 15-cv-9274, 2016 WL

1719805, at *6–7 (N.D. Ill. Apr. 26, 2016) (same); Acevedo v. CitiMortage, Inc., No. 11-cv-4877,

2013 WL 1283807, at *4–5 (N.D. Ill. Mar. 26, 2013) (same). Wells Fargo, on the other hand, has


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              The court uses the shorthand “oppressive” to include immoral, unethical, and
unscrupulous conduct as well.

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not identified a single case where a defendant was granted summary judgment under the same

circumstances.

        The court will nonetheless address the issue of oppressiveness. For largely the same

reason Wells Fargo claims Plaintiffs could have avoided their injuries—by accepting the March

2010 modification offer—Wells Fargo urges that its conduct “did not impose a lack of meaningful

choice on Plaintiffs.” (Def.’s Br. at 7.) But Wells Fargo abstracts the facts of this case one degree

of generality too far. The oppressive conduct at issue is not Wells Fargo’s modification or

delinquency-related behavior generally, but rather its failure to implement HAMP, which it was

contractually obligated to do. (See PSOAF ¶¶ 5–6.) As noted, the Garcias could only obtain a

HAMP modification through Wells Fargo. Indeed, Plaintiffs “had no choice in selecting [Wells

Fargo] as [their] loan servicer and [they] had no ability to to get rid of [Wells Fargo] after it began

mishandling [their] account.” Saccameno, 372 F. Supp. 3d at 631. In fact, the Garcias had no

way to know Wells Fargo was mishandling their account; they did not learn about Wells Fargo’s

error until years after they lost their home. (PSOAF ¶ 3.)

       Wells Fargo repeats its refences to the other modification options offered to Plaintiffs—

most notably, the March 2010 modification—but that modification was vastly more expensive than

the HAMP trial offer would have been. (Id. ¶¶ 37, 40.) Wells Fargo suggests, further, that by

offering any modification, even a materially worse modification, Wells Fargo effectively provided

a “meaningful choice under ICFA.” (See Reply Memorandum of Law in Support of Defendant’s

Motion for Summary Judgment (“Def.’s Reply”) at 3 (citing Tyler v. Bank of New York Mellon, No.

19-cv-7863, 2020 WL 2735367 (N.D. Ill. May 26, 2020)).) But in the case Wells Fargo cites, Tyler,

where the plaintiffs rejected the alternative modification the servicer had offered, the plaintiffs “did

not qualify for a HAMP modification” at all. Id. at *9. Nor did the complaint “suggest that such

conduct violated any HAMP guideline.”         Id.    The plaintiffs in Tyler were not deprived of a

meaningful choice because, unlike the Garcias, they were not entitled to make that choice in the

first place. Though Wells Fargo reads Tyler to categorically bless a HAMP denial if a servicer

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offers a non-HAMP modification, the same conduct can be fair to a set of consumers who are not

entitled to such a modification, but oppressive and unfair to a set of consumers who are. Take a

gym membership, for example. Asking a prospective member—who could choose any gym in

town—to pay $100 a month would probably not be oppressive. But it may well be oppressive to

lock out a current member—who has a contractual right to pay $75 a month—unless she agrees

to pay $100. That is, effectively, what happened here.

       The other cases cited by Wells Fargo are distinguishable because, like the prospective

gym member, each involved meaningful alternatives that consumers declined to pursue in free

markets. In Siegel v. Shell Oil Co., as one example, the “choice” at issue was where to buy

gasoline. 656 F. Supp. 2d 825, 833 (N.D. Ill. 2009). The plaintiff could have (and did) buy gas at

several different stations, only some of which were engaged in allegedly unfair conduct. Id.

Likewise, in Robinson, the court held that automobile leases with arguably excessive mileage

penalties were not oppressive because the penalties were clearly set out in the lease and the

plaintiffs “could have gone elsewhere to lease a car.” 201 Ill. 2d at 419–20, 775 N.E.2d at 962.

Finally, in Saunders, a case about unconscionably high overdraft fees, the plaintiff “was free to

select another Bank” and had “all of the information necessary to make a meaningful choice in

selecting banks.” 278 Ill. App. 3d at 314, 662 N.E.2d at 608–09.

       Unlike the market for gasoline, car leases, or banking services, the Garcias had no way

even to know they had been erroneously denied, much less a different way to obtain a comparable

modification.   A reasonable jury could therefore conclude that Wells Fargo’s conduct was

oppressive.

                                         *      *        *

       In sum, Wells Fargo concedes that its conduct violated public policy, and a reasonable

jury could conclude that Wells Fargo’s erroneous denial of Plaintiffs’ HAMP trial modification was

oppressive and/or caused substantial injury. In other words, Wells Fargo’s conduct was arguably

unfair under ICFA. Accordingly, the court denies summary judgment on that basis.

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       B.      There Are Disputed Material Facts on Proximate Cause.

       Wells Fargo next contends that there is no “genuine issue of material fact regarding

proximate cause” because Plaintiffs cannot show that they would have been harmed absent Wells

Fargo’s conduct. (Def.’s Br. at 11–16.) Wells Fargo emphasizes that Plaintiffs were already

seriously delinquent, faced serious financial difficulties, and chose not to accept a different

modification. As a result, Wells Fargo asserts, they cannot show that the erroneous HAMP denial

proximately caused their foreclosure. (Id.) In short, Wells Fargo asks this court to conclude that

the Garcias would have faced foreclosure regardless of Wells Fargo’s conduct.

       “[T]o prevail under ICFA, a plaintiff must demonstrate that the defendant's conduct is the

proximate cause of the injury.” Siegel, 612 F.3d at 935. Proximate cause “encompasses two

requirements: cause-in-fact and legal cause.” Malen v. MTD Prods., Inc., 628 F.3d 296, 309 (7th

Cir. 2010). Wells Fargo attacks only Plaintiff’s ability to show cause in fact. 12 (See Def.’s Br. at

12–13.)

       For cause-in-fact, the court considers “whether the injury would have occurred absent the

defendant's conduct.” Young v. Bryco Arms, 213 Ill. 2d 433, 446, 821 N.E.2d 1078, 1085 (2004).

When “multiple factors . . . may have combined to cause the injury,” the court must determine

“whether defendant's conduct was a material element and a substantial factor in bringing about

the injury.” Id., 821 N.E.2d at 1086. “If a plaintiff relies upon circumstantial evidence to show

cause in fact, that evidence must be of such a nature and so related as to make the conclusion

of causation more probable as opposed to merely possible.” Walker, 288 F. Supp. 3d at 856

(quotation marks and brackets omitted).




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                Legal cause, the other half of the equation, requires a plaintiff to show that “the
ultimate injury was reasonably foreseeable, which is satisfied by proof that a reasonable person
could foresee that his conduct could lead to the injury complained of.” Walker v. Macy’s Merch.
Grp., Inc., 288 F. Supp. 3d 840, 856 (N.D. Ill. 2017) (quotation marks omitted). Wells Fargo does
not discuss legal cause and therefore concedes the issue. In any event, loss of the Garcias’
home was a reasonably foreseeable result of their lender’s failure to administer HAMP properly.

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          For two related reasons, Wells Fargo argues that Plaintiffs cannot show “that an erroneous

denial on a single trial modification application can be disentangled from the morass.” (Def.’s Br.

at 13.)       First, because Plaintiffs missed many payments and failed to complete previous

modification trials, Wells Fargo urges, Plaintiffs cannot show it was probable that they would have

successfully completed the HAMP modification. (Id. at 13–15.) Second—largely repeating its

argument on substantial injury and oppressiveness—Wells Fargo claims that, because Plaintiffs

chose not to accept the March 2010 modification, “the loss of Plaintiffs’ home is fundamentally

attributable to Plaintiffs’ own conduct” rather than Wells Fargo’s. (Id. at 16.)

          The court turns now to those arguments. As with Wells Fargo’s positions on unfairness,

it is possible a jury might agree. But the court concludes that disputed material facts preclude

summary judgment on the proximate cause issue, as well.

                  1.     Plaintiffs’ “Pattern of Nonpayment” Does Not Preclude a Jury Finding
                         Proximate Cause.

          According to Wells Fargo, Plaintiffs’ “years of failing to make their loan payments, breaking

modification payment plans, and failing to complete applications” means that Plaintiffs have not

shown it is “probable” that they would have avoided foreclosure, had Wells Fargo granted them a

HAMP trial modification. (Def.’s Br. at 13.)

          Wells Fargo’s general point—that the Garcias’ financial problems did not start or end with

the erroneous HAMP denial—is well-supported in the record. The undisputed facts show that

Plaintiffs:

          •    Began experiencing financial difficulties when Woodland Lumber failed and Mr.
               Garcia thereafter struggled to find work (DSOF ¶¶ 10–12, 14);

          •    Stopped making car payments in order to have enough money for mortgage payments
               (Id. ¶ 16; E. Garcia Dep. at 88:6–25);

          •    Missed their first mortgage payment in January 2007 (PSOFR ¶ 17);

          •    Entered a Temporary Forbearance Agreement in February 2007 to bring their loan
               current (DSOF ¶¶ 18–19);



                                                   23
       •   Were in default as of September 2008 (Id. ¶ 21);

       •   Failed to bring their mortgage current under two Special Forbearance Plans in 2008
           and 2009 (Id. ¶ 22);

       •   Faced foreclosure beginning in January 2009 (Id. ¶ 42);

       •   Had not paid their mortgage for nearly two years at the time of the August 2010 HAMP
           denial (Id. ¶ 37);

       •   Were denied a loan modification in February 2011 because their reported monthly
           expenses exceeded their income (Id. ¶ 39);

       •   Sought to discharge $130,000 in debt from 30 unsecured creditors at the time of their
           bankruptcy in May 2011 (Id. ¶ 44).

       Plaintiffs characterize these “deadbeat borrower” arguments as “irrelevant.” (Plaintiffs’

Memorandum in Opposition to Wells Fargo’s Motion for Summary Judgment (“Pl.s’ Opp.”) at 20.)

The court disagrees with Plaintiffs on the relevance issue, but agrees with their larger argument

that “the animating purpose of HAMP was to help homeowners in default and at risk of imminent

foreclosure.” (Id.) As Wells Fargo’s own expert explains, if borrowers met the HAMP criteria (as

the Garcias admittedly did), their loan terms would be modified following a set methodology “until

the [mortgage] payment was equal to or less than 31% of the borrower’s gross income.” (P. Ross

Rep. ¶ 34.) Put differently, given that HAMP modifications were intended to reduce payments to

an affordable level—and were available only to delinquent borrowers who also had sufficient

income to make a modification a better-than-foreclosure outcome for the lender (id. ¶ 26)—the

Garcias’ financial difficulties do not on their own support an inference that a trial HAMP

modification would have failed to keep the Garcias in their home.

       On reply, Wells Fargo cites several cases suggesting, in its view, that “the facts of the

nonpayment are plainly relevant to, and sometime dispositive of, causation” in cases where that

nonpayment leads to foreclosure. (Def.’s Reply at 7.) This is not one such time. In Deutsche

National Bank Trust Co. v. Pickar, the plaintiffs alleged that they were deceived by the defendants,

but the court found no deceptive conduct that had occurred prior to the time the plaintiffs defaulted.


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See No. 12-cv-973, 2017 WL 3475083, at *5 (N.D. Ill. Aug. 14, 2017). And once the plaintiffs

defaulted, the lender “became entitled to foreclose on the Mortgage,” meaning that “any

inaccurate or deceptive statements . . . after that time could not have caused the [plaintiffs]

damage.” Id. Those facts bear little relation to this case, which is based on unfair rather than

deceptive conduct. Here, the Garcias indisputably had the right to be (properly) considered for a

HAMP trial modification. (PSOAF ¶ 11.) Unlike in Pickar, then, Wells Fargo had a duty to comply

with HAMP before it was “entitled to foreclose.” See 2017 WL 3475083, at *5.

        Nor is the court moved by Wells Fargo’s citation to Griffin v. U.S. Bank National

Association. In that case, the defendants repeatedly sent plaintiff information concerning his loan

modification options and his servicer correctly determined that he did not qualify for a HAMP

modification because the property at issue was not his primary residence. See No. 15-cv-6871,

2019 WL 4597364, at *5 (N.D. Ill. Sept. 23, 2019). The case has nothing to do with causation;

instead, the court concluded that where the defendants “did not violate any duty under HAMP”

and plaintiff had “been in default for over eight months,” there was “nothing unfair in defendants’

exercising their right” to foreclose. Id. 13

        Wells Fargo also marshals population-wide statistics and asks the court to infer that

“[e]ven if Plaintiffs had been approved for and accepted the erroneously denied trial modification,

the evidence does not suggest it is probable that Plaintiffs would have been able to save their

home.” (Def.’s Br. at 14.) According to Wells Fargo’s expert, as of June 2012, only 53 percent of

borrowers who received HAMP trial modifications successfully converted to permanent

modifications because those borrowers did not supply the necessary documentation, missed

payments during the trial period, or withdrew their requests for modification. (DSOF ¶ 41; P. Ross


        13
                Wells Fargo cites two similarly inapposite out-of-circuit cases that do not address
HAMP modifications or other mandatory loss mitigation efforts. See Def.’s Reply at 7–8 (citing
Rourk v. Bank of Am. Nat’l Ass’n, 587 F. App’x 597, 600 (11th Cir. 2014) (failure to make
payments fatal to breach of contract and wrongful foreclosure claim); In re Turner, BAP No. NC-
14-1139, 2015 WL 3485876, at *11 (B.A.P. 9th Cir. June 2, 2015) (alleged defects in assignment
and/or securitization process did not lead to wrongful foreclosure).)

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Rep. ¶ 74.) Even for those whose modifications did become permanent, a third or more of those

borrowers defaulted again within four years. (DSOF ¶ 41; P. Ross Rep. ¶ 77.) Wells Fargo’s

back-of-the-envelope math suggests that taken together, Plaintiffs’ chance of permanently

modifying their loan and remaining current were “at most” 40 percent, which is “well short of the

probability showing required.” (Def.’s Br. at 14.)

       As Plaintiffs point out, “[n]one of these statistics are specifically relevant to the Garcias.”

(PSOFR ¶ 41.) Indeed, even if the court were to credit Wells Fargo’s math, it does not warrant

summary judgment. At trial, the Garcias will need to convince a jury that it is “probable as opposed

to merely possible” that Wells Fargo’s conduct was the but-for cause of their injury. See Walker,

288 F. Supp. 3d at 856. But the Garcias are not seeking summary judgment; as the non-moving

party, they need only show that a reasonable jury could find Wells Fargo was the “probable” cause

of their injuries. Wells Fargo’s summary statistics might have some relevance to the analysis, but

the jury will be called on to consider the most relevant evidence: the facts specific to the Garcias,

some of which suggest a HAMP trial modification may well have been successful.

       Most notable is the monthly payment—$1,348—to which the Garcias would have been

entitled if Wells Fargo has processed their HAMP application properly. That payment represents

not only a massive reduction from their pre-modification payment—more than $3,000 per month—

but also a significant reduction even compared to the Garcias’ initial payments upon refinancing

their mortgage in 2006. (See Note [101-13] (reflecting loan beginning at 8.14 percent interest

requiring initial, pre-fluctuation payments of $1,658 per month).) In other words, the HAMP

payment would have cost Plaintiffs $300 less than their payments from 2006 through February

2008, which they paid mostly without incident. 14 Both Mr. and Mrs. Garcia testified that a payment

of $1,600—similar to what they were paying in 2006—would have been feasible for them in 2010.


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                Plaintiffs briefly fell behind on their payments in early 2007, took advantage of a
Temporary Forbearance Agreement to bring the loan current, and remained current until their
interest rate exploded in 2008. (DSOF ¶¶ 18–19.)


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(See E. Garcia Dep. at 144:5–12; J. Garcia Dep. at 135:23–136:8.) In the court’s view, a

reasonable jury could find that the Garcias could have made payments $250 below what they

testified was comfortable, even considering their history and the summary statistics about HAMP

modifications.

       Wells Fargo dismisses this evidence, suggesting that Plaintiffs “willfully chose not to make

any loan payments when they didn’t find the payment to be ‘comfortable.’” (Def.’s Reply at 11.)

Wells Fargo calls the Garcias’ conduct “pervasive nonpayment gamesmanship” (id. at 12), and

contends it demonstrates that Plaintiffs believed they had the choice to pay nothing “until they

were offered a modification they liked.” 15 Id. at 11. But the Garcias would not have faced

foreclosure in the first place if they had been able to bring the unmodified loan current. And,

according to Plaintiffs’ testimony, the modification offers involved uncomfortably high payments

that they were not confident they could make. (See, e.g., E. Garcia Dep. at 141:23–142:17.)

Wells Fargo implies that Plaintiffs cannot show causation because they did not make partial

payments against a delinquent balance that they could never hope to pay off without loss

mitigation. But the court is unwilling to assume that Plaintiffs’ evident disinterest in throwing good

money after bad establishes that they would not have made the HAMP modification payments

that they testified would have been affordable.

       Wells Fargo contends that the Garcias’ testimony “contradicts the record and cannot

overcome summary judgment.” (See Def.’s Reply at 12.) But the Seventh Circuit has “long held

that a plaintiff may defeat summary judgment with his or her own deposition.” Paz v. Wauconda

Healthcare and Rehab. Ctr., LLC, 464 F.3d 659, 664 (7th Cir. 2006).               True, “conclusory

statements” are not enough. See Williams v. Seniff, 342 F.3d 774, 785 (7th Cir. 2003). The same

is true for statements that are “impossible for a reasonable person to credit.” Mills v. First Fed.



       15
               As it turns out, of course, the Plaintiffs did actually have the right to a HAMP trial
modification before Wells Fargo could foreclose.


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Sav & Loan Ass’n of Belvedere, 83 F.3d 833, 844 (7th Cir. 1996). But the Garcias’ testimony is

not impossible to credit. While Wells Fargo accuses Plaintiffs of testifying that they could have

afforded $1,600 payments only “after learning in discovery that the erroneously denied payments

would have been less than that” (Def.’s Reply at 13), the court believes a reasonable jury could

nevertheless credit that testimony. 16 Indeed, Plaintiffs’ original mortgage payments—before their

interest rate ballooned—were significantly higher than the HAMP-modified payments would have

been. (See Note [101-13].)

         The cases Wells Fargo cites to suggest the court should discount Plaintiffs’ testimony are

inapposite. Those cases involved record facts that entirely contradicted the plaintiffs’ testimony.

See, e.g., Spector v. U.S. Bank Nat’l Ass’n, 286 F. App’x 333, 336 (7th Cir. 2008) (employer

required employees to “bring in two loans per week” and loan applications in the record

“conclusively establish[ed]” that plaintiff failed to do so); Mills, 83 F.3d at 843–44 (plaintiff testified

that she never received any warnings of poor job performance, but defendant produced

documented warnings of poor job performance); Phillipson v. McAleenan, No. 14-cv-8138, 2019

WL 4749909, at *7–8 (N.D. Ill. Sept. 30, 2019) (plaintiff testified he received “superior” evaluations

but performance letters in the record showed he “received negative reviews” and was

reprimanded and almost suspended “on multiple occasions”). The facts here are not nearly so

clear.

         The court also concludes that a reasonable jury could side with Plaintiffs even though they

failed to enter into other loan modification agreements. (See Def.’s Br. at 15.) As discussed more

fully elsewhere, none of those proposed loan modifications came close to offering the financial



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               The court also questions how Wells Fargo can simultaneously argue that summary
judgment is warranted because Plaintiffs could have afforded the $1,871 monthly non-HAMP
modification payment but could not have afforded the $1,348 monthly HAMP payment. The court,
of course, understands that parties make arguments in the alternative. But there cannot possibly
be undisputed evidence that Plaintiffs could afford $1,871 per month but could not afford $1,348
per month. Wells Fargo’s equally strenuous assertions in both directions suggest that summary
judgment is inappropriate here.

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terms the HAMP modification would have provided.            Nor does Mr. Garcia’s admission that

Plaintiffs may not have successfully completed the trial modification warrant summary judgment.

(See id. (citing DSOF ¶ 34).) Again, those facts might persuade a jury, but do not themselves

extinguish the genuine disputes in the record.

       The remaining cases cited by Wells Fargo amply illustrate how the causation questions in

this case are too close for summary judgment.           Price v. Phillip Morris, Inc., for example,

considered wide-ranging claims by a massive group of plaintiffs. In that case, the court concluded

that the “lights” and “lowered tar and nicotine” language on packages of the defendant’s Marlboro

Lights and Cambridge Lights cigarettes was not the “‘but for’ cause of millions of purchasing

decisions made over a period of some 30 years by the 1.14 million members of the plaintiff class.”

219 Ill. 2d 182, 270, 848 N.E.2d 1, 53 (2005). In others, the causal nexus at issue was illogical.

The plaintiff in McGlenn sued over a data breach that exposed his information, but he admitted

that the identity theft he later suffered “necessarily relied on PII [personal identifying information]

that was not disclosed” in the defendant’s breach and had been exposed in a separate and

unrelated data breach. See McGlenn v. Driveline Retail Merch., Inc., No. 18-cv-2097, 2021 WL

4301476, at *10 (C.D. Ill. Sept. 21, 2021). 17

       In sum, the Garcias’ “pattern of nonpayment” may influence a jury’s decision, but it is not

enough to grant summary judgment on causation.




       17
                Wells Fargo also cites Anthony v. Country Life Mfg., LLC, but there the court
granted a motion to dismiss because, while plaintiff sufficiently established but-for causation, she
did not establish legal causation—the other piece of proximate cause that is uncontested here.
See No. 02-cv-1601, 2002 WL 31269621, at *2 (N.D. Ill. Oct. 9, 2002). Bomar v. Pacific Union
Financial, LLC also addressed a different issue. That case granted summary judgment on
unfairness grounds because the plaintiff could reasonably have avoided his injuries and therefore
could not show substantial injury. See No. 15-cv-10842, 2017 WL 1478084, at *4 (N.D. Ill. Apr.
25, 2017). Bomar does not discuss but-for causation, which is a different standard. See
Discussion Section III.B.2, infra.


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               2.      Plaintiffs’ Decision Not to Accept a More Expensive Modification Does
                       Not Warrant Summary Judgment.

       Wells Fargo next claims that “Plaintiffs’ willful decision not to make their loan payments,

even when they testified they would have been able to, demonstrates that Wells Fargo was not

the proximate cause of their foreclosure.” (Def.’s Br. at 16.) Put differently, “[h]ad Plaintiffs

decided to accept the March 2010 modification instead of continuing to pay nothing on their loan,

and completed all necessary trial payments, they could have brought their loan current and

obviated the need for a subsequent loss mitigation review altogether.” (Id.)

       Wells Fargo’s argument mirrors its argument on substantial injury—i.e., that Plaintiffs

could “reasonably have avoided” their injuries. See Discussion Section III.A.1, supra. For largely

the same reasons the court declined to grant summary judgment on that argument, it declines to

do so here. In short, there is a dispute of material fact as to whether Plaintiffs could have afforded

the significantly more expensive March 2010 modification in the long run, and whether their choice

not to proceed with it requires the conclusion that they would not have met a much more modest

obligation.

       But Wells Fargo’s causation argument is one step weaker. Whereas the standard for

substantial injury asks whether Plaintiffs could have reasonably avoided the injury, the but-for

cause standard is “whether the injury would have occurred absent the defendant's conduct.”

Young, 213 Ill. 2d at 446, 821 N.E.2d at 1085. Unlike the substantial injury test, but-for cause

recognizes that “multiple factors . . . may have combined to cause the injury” and requires only

that “defendant's conduct was a material element and a substantial factor in bringing about the

injury.” Id. In other words, a jury who believe that Plaintiffs could have afforded a different

modification might still view Wells Fargo’s failure to offer Plaintiffs a substantially more affordable

modification—after they had already declined the March 2010 modification—as a “material

element” and a “substantial factor” in bringing about Plaintiffs’ foreclosure.




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       Neither case cited by Wells Fargo changes this conclusion. Pickar—the case discussed

above, alleging deceptive conduct after a foreclosure was already filed—did not involve a

mandatory loss mitigation process, like the botched HAMP review at issue here. See 2017 WL

3475083, at *5. Fogt v. 1-800-Pack-Rat, LLC, where the court affirmed summary judgment for

the defendants, is closer. In that case, the plaintiff agreed to automatic credit card payments to

cover the storage unit where she was storing her belongings, but she cancelled her credit card

after it was compromised by fraud and failed to provide her new credit card information to the

storage facility. 2017 IL App (1st) 150383, ¶ 34. Unfortunately, the plaintiff also moved, and

although she had her mail forwarded, she did not directly inform the storage facility of her new

address, and never received the three mailings informing her that her rental payments were past

due. Id. ¶ 35. She also never received the notice that her belongings would be sold at auction.

Id. ¶ 36. The storage company conceded that it violated several notice provisions of the statute

governing storage units, but the appellate court reasoned that plaintiff’s own conduct caused her

harm: had the plaintiff “complied with the requirement to update her credit card information,” she

would never have fallen behind in the first place. Id. ¶¶ 59, 71. Likewise, had she sent written

notice of her change of address, as required by the storage agreement, she would have received

the various notices. Id. ¶ 71. Either way, she would have saved her belongings from auction.

Wells Fargo has not suggested that any such failure on the part of the Garcias was the reason

they were not offered the HAMP trial modification they concededly deserved. To the extent Wells

Fargo reads Fogt to suggest that a defendant’s conduct must be the sole reason for a plaintiff’s

injury, that controverts binding Illinois Supreme Court precedent. See Young 213 Ill. 2d 446, 821

N.E.2d at 1086 (plaintiff can establish proximate cause by showing defendant’s conduct was a

“substantial factor” in causing an injury).




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       C.      Wells Fargo is Entitled to Summary Judgment as to Credit Damages, but not
               as to Emotional Distress Damages.

       Finally, Wells Fargo asks the court to “dispose” of two categories of damages—emotional

distress damages and credit harms damages—about which Wells Fargo believes there is no

triable issue of fact. (Def.’s Br. at 17.) The court agrees with Wells Fargo that Plaintiffs have not

cited any actual evidence of credit damage, but disagrees with respect to emotional damages.

               1.       Emotional Damages

       For a claim to survive under ICFA, a plaintiff must allege the defendant’s conduct caused

damages. See Priebe v. Autobarn, Ltd., 240 F.3d 584, 589 (7th Cir. 2001) (citing 815 ILCS

§ 505/10a(a)). That can include emotional damages, including aggravation or inconvenience.

See Roche v. Fireside Chrysler-Pymouth, Mazda, Inc., 235 Ill. App. 3d 70, 86, 600 N.E. 2d 1218,

1228 (2d Dist. 1992).

       In arguing that the Garcias are not entitled to recover emotional damages as a matter of

law, Wells Fargo observes that (1) medical records do not refer to Plaintiffs’ foreclosure; (2) those

records show the conditions on which Plaintiffs’ claims are based pre-date the foreclosure; (3) Mr.

Garcia has “exaggerated some symptoms” and Mrs. Garcia may be “magnify[ing] her symptoms

for secondary (financial) gain”; (4) other factors caused the emotional distress Plaintiffs faced—

for example, Mr. Garcia’s difficulty finding work, the process of applying for other loan

modifications, and the lawsuit itself; (5) a jury will not be able to distinguish what portion of

Plaintiffs’ emotional distress was caused by the foreclosure; and (6) Plaintiffs’ only evidence of

their damages is their own conclusory testimony. (Def.’s Br. at 17–23; Def.’s Reply at 17–19.)

The court will address each argument, though not necessarily in that order.

       That the claim for emotional distress in this case is based on the Garcia’s own testimony

does not bar recovery. The Seventh Circuit has “long held that a plaintiff may defeat summary

judgment with his or her own deposition.” Paz, 464 F.3d at 664. When it is the injured party who

“provides the sole evidence of mental distress, he must reasonably and sufficiently explain the


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circumstances of his injury and not resort to mere conclusory statements.” Biggs v. Vill. of Dupo,

892 F.2d 1298, 1304 (7th Cir. 1990) (brackets and quotation marks omitted). The Seventh Circuit

has not, however, required “extensive” testimony; rather, plaintiffs must only “describe[] their

emotional turmoil in reasonable detail and explain[] what they believe to be the source of that

turmoil.” Catalan v. GMAC Mortg. Corp., 629 F.3d 676, 696 (7th Cir. 2011).

          The court has already held that Plaintiffs have presented evidence from which a jury could

find that Wells Fargo’s erroneous denial of Plaintiffs’ HAMP application proximately caused their

foreclosure. See Discussion Section III.B, supra. If the jury finds in favor of Plaintiffs on this

issue, the question is whether that jury could also find that the Garcias’ alleged emotional injuries

(and the sequelae of those injuries) stemmed from the loss of their home rather than some other

factor.

          To start, the court can dispense with Wells Fargo’s claim that Plaintiffs cannot prove

damages because Mrs. Garcia’s medical conditions “predate the foreclosure and error, in some

cases by many years.” (Def.’s Br. at 18; see also id. at 19 (making similar arguments about Mr.

Garcia’s sleep problems).) Plaintiffs do not dispute that Mrs. Garcia’s fibromyalgia, depression,

and migraines “pre-date the erroneous denial.” (See PSOFR ¶ 45.) But Plaintiffs are seeking

damages because Wells Fargo’s conduct aggravated those conditions. (Pl.s’ Opp. at 28–29.) In

its reply, Wells Fargo concedes that Plaintiffs could claim aggravation-based damages, but

argues that they have not produced sufficient evidence that Wells Fargo’s conduct actually did

aggravate their medical issues. (Def.’s Reply at 19–20.) Accordingly, the real question—to which

the court will return—is not whether Plaintiffs had pre-existing conditions, but whether there is

evidence that Wells Fargo’s conduct made those conditions worse.

          In addressing these issues, the court is unmoved by Wells Fargo’s belief that Plaintiffs

are, to put it colloquially, “making it up.” Wells Fargo asserts on several occasions that Plaintiffs

may not actually have suffered the stress (or stress-related symptom aggravation) that they claim.

(See Def.’s Br. at 19 (citing expert, psychologist David Hartman, Ph.D., who “found that Mrs.

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Garcia may magnify her symptoms for secondary (financial) gain”; id. at 20 (citing Hartman, who

“noted that Mr. Garcia exaggerated some symptoms”); id. at 22 (noting Hartman “has advised

caution about uncritically accepting Plaintiffs’ self-reported symptoms and their causes”).) The

court assumes that Mr. Hartman’s report and testimony are admissible, 18 but the court is unwilling

to grant summary judgment based on tests by an opposing party’s expert that purport to find a

plaintiff is faking her suffering. That is particularly true in this case. It does not take an expert to

connect the loss of a family home during an economic crisis with significant stress and the

consequences of that stress. Cf. Hammer v. Residential Credit Sols., Inc., No. 13-cv-6397, 2015

WL 7776807, at *39 (N.D. Ill. Dec. 3, 2015) (finding that “the nature of the causation issue”—

whether stress aggravated plaintiff’s cardiac condition—did not require expert testimony for the

jury to resolve).

        Some of Wells Fargo’s other arguments downplay plaintiff-friendly evidence.                 For

example, Wells Fargo argues that the medical records in the case only reference the foreclosure

once and “none contain a diagnosis based on that subject.” (Def.’s Br. at 22.) While that may be

true, Dr. Pillai, the Garcias’ primary care physician, testified that Mr. Garcia told her that financial

problems caused him anxiety. (See A. Pillai Dep. [130-8] at 36:21:37–2.) Dr. Pillai said that Mrs.

Garcia, who was also in the room at the time, “was in tears crying about losing their home and

not having money and not being able to afford another home” and Mr. Garcia was “trying to

comfort her.” (Id. at 37:2–5.) She testified that the Garcias’ response was “the same response

that anybody” would have in that situation. (Id. at 37:5–9.) True, “money”-related stress is not

specific to the foreclosure, but Dr. Pillai stated that Mrs. Garcia had not complained about money

issues “prior to her discussing the house foreclosure.” (Id. at 85:13–20.) Then, after the Garcias




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                Plaintiffs suggest in two paragraphs that Mr. Hartman is not qualified to provide an
opinion about them. (See Pl.s’ Opp. at 25–26.) The court is not prepared to exclude an expert
based on a stray citation to Daubert. If Plaintiffs believe Mr. Hartman does not meet the standard
for expert testimony, the court will consider a properly-briefed Daubert motion.

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lost their home, Dr. Pillai said it had become a more frequent topic of conversation. (Id. at 101:18–

102:3.)

          Mrs. Garcia presented with temporomandibular joint (“TMJ”) pain in March 2011—right

around the time Wells Fargo obtained an order of possession for the Garcias’ home. (See id. at

103:4–104:3 (discussing jaw pain); Order [130-15] (March 29, 2011 order confirming sale of

Garcias’ home and granting order of possession).) This malady was not linked directly to the

foreclosure, but Dr. Pillai testified that stress can cause people to clench jaw muscles and grind

their teeth, which can lead to TMJ pain. (A. Pillai Dep. at 104:15–25, 106:3–13.) Dr. Pillai testified,

in addition, that stress can exacerbate insomnia and conditions like fibromyalgia. (Id. at 109:13–

110:5.) She also noted that Mrs. Garcia was particularly stressed at an April 2011 appointment—

around the time the Garcias faced eviction under the order of possession—at which time Dr. Pillai

prescribed fluoxetine, an antidepressant used “for patients like this that have chronic stressors

causing anxiety and depression that follows.” (Id. at 108:5–10, 109:2–110:11.) Though Dr. Pillai

could not testify that the foreclosure was the sole cause of various health problems, she agreed

that stress related to the foreclosure “could be one of the contributing factors.” (Id. at 114:2–17.)

          In sum, the court does not agree that Plaintiffs “cannot adduce any other evidence on

th[e] point [of whether Wells Fargo exacerbated their medical conditions] except for their own

testimony.” (Def.’s Br. at 22.) Even discounting Dr. Pillai’s deposition, Plaintiffs’ testimony is

enough to avoid summary judgment on emotional damages. Mrs. Garcia acknowledged that she

was diagnosed with depression before the erroneous HAMP denial, but stated that her depression

worsened around the time of the foreclosure. (J. Garcia Dep. at 75:6–23.) Receiving the eviction

notice, Mrs. Garcia said, was “the worst part,” leaving her “feeling really down” and causing her

to cry “all the time,” including at work. (Id. at 255:3–13.) After the family had to move, she “started

to feel worst and worst” and began to “doubt about [her] ability to keep up with [her] job.” (Id. at

253:19–25.) Mrs. Garcia testified that the family’s life post-foreclosure was “like hell . . . hell to

get an apartment to be in the same school district that [their] daughter needed because of special

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education services in La Grange Park.” (Id. at 39:11–18.) Mrs. Garcia also testified that her

fibromyalgia pre-dated Wells Fargo’s conduct, but it had been “very manageable” until it was

exacerbated by foreclosure-related stress. (Id. at 256:10–17; see also Interrogatory Responses

[101-37] at 14.)

       Mr. Garcia, too, acknowledged that factors beyond Wells Fargo’s conduct affected his

emotional state. For example, he testified that the financial crisis made him feel “frustrated” and

“a little bit on edge” because he could not provide for his family. (E. Garcia Dep. at 105:7–24.)

But his testimony also suggests that Wells Fargo’s conduct made things worse. For example, he

testified that “[f]or a long time” he and Mrs. Garcia “thought we had done things very badly” and

caused the foreclosure. (Id. at 168:6–13.) He said he felt guilty and blamed himself for what

followed, including Mrs. Garcia’s “health situation” and issues with their son Byron, who “had not

been able to finish his education.” (Id. at 168:8–24.) He said he blamed Wells Fargo because it

affected Byron “when [they] lost the house” and the family had “to go around looking for an

apartment, to applying for apartments and not to have an acceptance.” (Id. at 168:25–169:24.)

Mr. Garcia testified that Byron had helped worked on the family’s house since he was a small

child “and to see that his dad couldn’t keep the house . . . changed his relationship” to Mr. Garcia.

(Id. at 170:5–17.) He said that “[t]hose were very difficult moments for [them] to accept.” (Id. at

219:5–6.) About Wells Fargo, Mr. Garcia said that he believed “someone should speak up and

say who was in error, if it was they or if it was I, because I believe that if it was I, I must accept

that and not blame others, but I also think that if the error was on behalf of somebody else, I must

remove that feeling of guilty from myself and continue forward.” (Id. at 229:21–230:4.) He later

explained that “for many years” he believed he “was in error until [he] received [Wells Fargo’s]

letter,” at which point he realized “they are in error.” (Id. at 268:7–13.)

       Mr. Garcia testified about his wife’s stress, and vice versa. Mr. Garcia said that Mrs.

Garcia’s health “decayed much, especially when [they] had to leave the house.” (Id. at 219:2–5.)

Similarly, Mrs. Garcia testified that, although Mr. Garcia had been stressed over finances before,

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“when [they] had to leave the house,” he “became so, like, isolated.” (J. Garcia. Dep. at 209:23–

25.) She noted Mr. Garcia’s withdrawal from events involving his extended family, reporting that

“after [Wells Fargo] took the house, he didn’t want to go to any family parties. . . . . Not even for

Mother’s Day, Father’s Day, Christmas. . . . [H]e didn’t want to go.” (Id. at 209:25–210:13.)

        Wells Fargo argues that no jury could “separate out how much of the ‘worsening’ [of

Plaintiffs’ conditions] was caused by the foreclosure, let alone reasonably conclude that the bank

was the proximate cause of Plaintiffs’ claimed ailments.” (Def.’s Br. at 20.) But the two cases

Wells Fargo cites do not suggest that the jury’s task is so insurmountable that the court must grant

summary judgment. Neither case discusses confounding factors or the difficulty of separating

injuries from different causal mechanisms.          One involved unpersuasive and non-specific

deposition testimony from the plaintiffs. See Diedrich v. Ocwen Loan Servicing, LLC, No. 13-cv-

693, 2015 WL 1885630, at *9 (E.D. Wis. Apr. 24, 2015) (granting summary judgment where

plaintiffs’ testimony did not connect their injuries to defendant’s conduct). In the other, the plaintiff

conceded that she needed expert testimony to connect her injuries to the defendant and failed to

provide it. See Blanton v. RoundPoint Mortg. Servicing Corp., 825 F. App’x 369, 373 (7th Cir.

2020). In that case, the plaintiff designated her treating physician as her causation expert, but

that doctor did not consider the cause of her injuries during treatment and the plaintiff did not

provide an expert report. Id. The Seventh Circuit affirmed summary judgment because the

plaintiff “failed to present any admissible evidence proving causation and damages.” Id.

        Neither party argues that expert testimony is required to show aggravation here, so it is

not clear how Blanton applies. True, as Wells Fargo cautions, the Garcias cannot testify about

the “causation of a health problem or offer a detailed medical diagnosis.” See McGill ex rel.

McGil v. Menard, Inc., No. 11-cv-4950, 2013 WL 5253650, at *8 (N.D. Ill. Sept. 17, 2013)

(quotation marks omitted). But Plaintiffs may “testify as to [their] perceptions of [their] physical

and mental health during the relevant time period.” Saccameno v. Ocwen Loan Servicing, LLC,

No. 15-cv-1164, 2018 WL 10609875, at *2 (N.D. Ill. Mar. 20, 2018). Indeed, “‘before and after’

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lay testimony may be competent evidence on issue of damages caused by exacerbation of

preexisting medical condition,” especially when a treating physician testifies to “a change in the

disease process after the injury” and believes “as a matter of general causation that the

preexisting condition could be exacerbated by the kind of injury the plaintiff suffered.” Hammer,

2015 WL 7776807, at *39 (citing Meyers v. Wal-Mart Stores, East, Inc., 257 F.3d 625, 630 (6th Cir.

2001)). 19 That accurately describes the testimony at issue here.

       Wells Fargo also urges that Plaintiffs’ testimony is “conclusory say-so.” (Def.’s Reply

at 20.) The court disagrees. The level of detail Plaintiffs put forward “reasonably and sufficiently

explain[s] the circumstances of [their] injury” and goes beyond “mere conclusory statements.”

Biggs, 892 F.2d at 1304. Mrs. Garcia, for example, logically connects receiving the eviction

notice—the final sign that the family would lose their house—to significant stress. (See J. Garcia

Dep. at 255:3–13.) Likewise, she described the difficulties of finding a new apartment in the same

school district as “like hell.” (Id. at 39:11–18.) Mr. Garcia reported feeling guilt and personal

responsibility for the loss of his family’s home and the pain his children suffered, which is

compelling and understandable, as well. (See E. Garcia Dep. at 168:8–170:17.)

       The facts here are like those in Catalan, where the court reversed the district court’s

opinion granting summary judgment to the defendant. In that case, the plaintiff’s medical records

“indicate[d] that she was under increased stress during this time period because of her ‘house



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                The court also rejects the argument that “the passage of time” means that the jury
cannot separate out Wells Fargo’s role in Plaintiffs’ injuries from other causal factors. (See Def.’s
Br. at 21.) Wells Fargo cites Independent Trust Corp. v. Fidelity National Title Insurance Co. of
New York in support, but the plaintiff there alleged deception, meaning that it had to prove that it
“was, in some manner, deceived by the falsehood.” 577 F. Supp. 2d 1023, 1040 (N.D. Ill. 2008)
(quotation marks omitted). The plaintiff could not do so because it did not know of the allegedly
false statements at the time it was allegedly deceived. Id. The court acknowledges that because
Plaintiffs did not know about Wells Fargo’s error at the time, they could not specifically discuss
“Wells Fargo’s conduct with their doctors” at the time it occurred. (Def.’s Br. at 21.) But as
discussed above, they did discuss the foreclosure with Dr. Pillai, which is causally connected to
Wells Fargo’s then-unknown error. In any event, the court is not comfortable concluding that
Wells Fargo should avoid liability because its error remained secret for long enough to muddy the
waters.

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situation.’” 629 F.3d at 696. Each plaintiff also testified about their emotional distress. One said

that it was “hard to feel like people aren’t listening to you, that they’re ignoring you.” Id. She said

it made her “nervous” and “shaky” and that it depressed and embarrassed her. Id. Her husband

testified that he had to watch his wife “every day crying and being upset” and that he had to take

care of their child, “try to console my wife, and at the same time, I couldn’t let anybody know how

I felt about it,” which made him feel “useless.” Id. The court there reasoned that although the

plaintiffs’ testimony was “not extensive,” it was also “not conclusory” because it “described their

emotional turmoil in reasonable detail and explained what they believe to be the source of that

turmoil.” Id. It continued: “[the defendant] will be free to argue on remand that any such distress

was minor and that other stressors in the plaintiffs' lives were the true causes of their distress, but

the plaintiffs' testimony is sufficient to preclude summary judgment for [the defendant] on the

question of whether the plaintiffs suffered emotional harm as a result of [the defendant’s]

actions—and inaction.” Id.

       If anything, the Garcias testimony is more extensive than that of the plaintiffs in Catalan,

as is the testimony of their family physician, Dr. Pillai. 20 Wells Fargo responds that Catalan “does

not help” Plaintiffs (Def.’s Reply at 18 n.9) because the Seventh Circuit later distinguished

Catalan. In the case Wells Fargo refers to, Diedrich v. Ocwen Loan Servicing, LLC, the court

reasoned that Catalan only found that “the plaintiffs' self-reports of emotional distress stemming

from the mortgage company's actions were sufficient to survive a motion for summary judgment,”

but the Catalan court had not yet determined “whether that emotional distress was sufficiently

linked to the mortgage company's” allegedly illegal actions because “it left it for the district court


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                Plaintiffs’ testimony is also more extensive than in the other cases cited by Wells
Fargo where courts have rejected “conclusory” assertions of emotional distress. See Sarver v.
Experian Info. Sols., 390 F.3d 969, 971 (7th Cir. 2004) (no emotional distress for six-month period
when defendant left inaccurate information on the plaintiff’s credit report and plaintiff did not
connect emotional distress to that conduct); Aiello v. Providian Fin. Corp., 239 F.3d 876, 881 (7th
Cir. 2001) (plaintiff did not attempt to prove “more than a transient and trivial shock” from receiving
the defendant’s collection letter that violated the automatic bankruptcy stay).


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to determine on remand” whether those actions had, in fact, violated federal law. 839 F.3d 583,

593 (7th Cir. 2016).

        Importantly, Catalan and Diedrich both concerned alleged violations of the Real Estate

Settlement Procedures Act (“RESPA”), and specifically a mortgage servicer’s obligations when

responding to a borrower’s “qualified written request” for information. See id. at 586; Catalan,

629 F.3d at 680. In Diedrich, the Seventh Circuit reasoned that Catalan did not specifically

establish “what amount of evidence is sufficient to link an injury to a mortgage company's failure

to respond properly to a qualified request for information.” 839 F.3d at 593. 21 But it held that the

plaintiffs in that case—who said they were injured by “everything that Ocwen [their servicer] has

put us through over three years of this lawsuit”—could not establish a causally-connected

emotional injury because “Ocwen may have taken multiple actions that the Diedrichs might allege

are damaging, but that might nevertheless be perfectly legal, such as initiating a foreclosure

action.” Id.

       Wells Fargo’s conduct at issue in this case has broader ramifications than a failure to

respond to a written request under RESPA. In Diedrich, the plaintiffs could not sufficiently connect

the servicer’s conduct to their foreclosure and the emotional consequences thereof. Wells

Fargo’s erroneous HAMP denial in this case, in contrast, arguably did lead to a foreclosure, and

Plaintiffs can survive summary judgment so long as a reasonable jury could believe Plaintiffs’

injuries stem from that foreclosure. See Discussion Section III.B, supra. Catalan, at the very

least, instructs that if Plaintiffs testify about emotional damages, “explain what they believe to be

the source of that turmoil,” and show a causal connection to Wells Fargo’s conduct, the court



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               The Seventh Circuit has since clarified that Catalan “reversed summary judgment
for the defendants partially on the ground that there was dispute of material fact as to the plaintiffs’
allegations of emotional distress damages resulting from the defendant's egregious RESPA
violations.” Moore v. Wells Fargo Bank, N.A., 908 F.3d 1050, 1060 (7th Cir. 2018). The court
explained that in Catalan, the plaintiffs “were actually making their mortgage payments” and thus
“[t]he RESPA violations were the source of their stress about the prospective loss of their home.”
Id.

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should deny summary judgment. 629 F.3d at 696. Here, Plaintiffs testified at several points about

how the foreclosure and loss of their home specifically—rather than other, earlier financial

stressors—caused their emotional damages.

       Wells Fargo is correct that some of Plaintiffs’ claimed emotional injuries are not obviously

related to the erroneous HAMP denial. (See, e.g., Def.’s Reply at 17–18.) Mrs. Garcia’s stress

from “need[ing] to fax Wells Fargo” various documents repeatedly while she was balancing a

stressful time at work is likely not related to Wells Fargo’s HAMP errors. (See J. Garcia Dep. at

56:25–57:12.) But immediately after talking about documents, Mrs. Garcia testified that “[i]t was

a lot” for her emotionally because her “kids were getting nervous about moving out or being

homeless, or my daughter not being in the same school district and not having the support that

she used to have with the IEP in her school, that that was on my shoulders.” (Id. at 57:13–18.)

Unlike the difficulties with paperwork, the foreclosure and the stress that followed do tie directly

to the alleged consequences of Wells Fargo’s conduct at issue here. Likewise, Mrs. Garcia’s

testimony that the experience “has been hell.” (Id. at 64:6.) While ambiguous on its own, she

continued:

       I mean, looking for an apartment, and then now I have to move. And we move to
       that apartment, we suffer in that apartment, and then—and I said, “I just can’t do
       this job anymore.” I got so discouraged. I got so sad to see my husband, my kids
       in that apartment . . . without our things that I said “I’m not—I just can’t work
       anymore. I am so exhausted. We moved twice from—from our home to the
       apartment in Brookfield so my daughter could finish high school in that school
       district, and then we move again to this apartment in Cicero. When we get here,
       and I said “I just can’t do it anymore. I just can’t.” . . . . That [the foreclosure] was
       the event that caused—it's like they gave me a hit, like a soccer player, on my back
       out of my work when they took my home. I was so exhausted and depressed,
       depressed so deeply, deeply. When we got to this apartment, I said that—I thought
       that the other apartment was the worst that could happen to us, but when we got
       here . . . .

(Id. at 64:6–22.) 22 Again, that testimony credibly ties Mrs. Garcia’s emotional injuries to the loss

of the family’s home, which is sufficiently connected to Wells Fargo’s conduct to survive summary


       22
             This testimony—and other testimony discussed above related to Mrs. Garcia’s
job—also creates a dispute of material fact about whether and to what extent Wells Fargo’s

                                                  41
judgment. That distinguishes this case from the other RESPA cases Wells Fargo cites in addition

to Diedrich. The plaintiffs in those other cases faced the same problem as the Diedrichs did: they

could not tie their emotional distress to RESPA violations—which typically allege a failure of

process, not substance—rather than the trauma of the foreclosure process more broadly. See,

e.g., Moore, 908 F.3d at 1061 (testimony that plaintiffs were stressed at imminent loss of their

home “had essentially nothing to do with any arguable RESPA violations” and were instead the

result of plaintiffs’ inability to make mortgage payments); Perron v. J.P. Morgan Chase Bank, N.A.,

845 F.3d 852, 858 (7th Cir. 2017) (plaintiffs could not connect breakdown of their marriage to

RESPA violations because it was “far too attenuated” and “not the type of harm that faithful

performance of RESPA duties avoids”). 23

       All of this does not mean that the Garcias can recover for the stress they suffered before

the erroneous HAMP denial. (See Def.’s Reply at 18 (detailing other sources of stress).) With

respect to the distress they experienced after that denial, however, Plaintiffs need not “prove the

emotional distress was caused solely by the alleged [HAMP] violation.” Moore, 908 F.3d at 1061.

It is clear, at this stage, that material facts are in dispute about whether Plaintiffs suffered

emotional distress, how that distress manifested, and to what extent the stress stemmed from




conduct caused Mrs. Garcia to stop working. See Background Section VI, supra. Accordingly,
the court disagrees with Wells Fargo (see Def.’s Br. at 23.) that no jury would conclude that Wells
Fargo’s conduct played a material role in Mrs. Garcia’s career, even if other factors also played a
role. Cf. Brown v. I.C. Sys., Inc., No. 16-cv-9784, 2019 WL 1281972, at *7 (N.D. Ill. Mar. 20,
2019) (cited in Def.’s Br. at 23) (plaintiff could not prove non-speculative damages where she
could not remember how much she had paid for a call blocker application she bought to block
defendant’s calls or how many months she paid for it).
       23
                 As discussed in Discussion Section III.B, supra, McGlenn—which Wells Fargo
cites again on emotional damages—is inapposite because the plaintiff’s theory of proximate
cause in that case was illogical and therefore improbable. See 2021 WL 4301476, at *10
(plaintiff’s identity was stolen, but that incident “necessarily relied on PII that was not disclosed”
in defendant’s data breach). In the case before this court, a reasonable jury could find that Wells
Fargo was the probable cause of at least some of Plaintiffs’ emotional distress. See id. (plaintiff
must establish proximate cause is probable, not merely possible).

                                                 42
Wells Fargo’s conduct as opposed to Plaintiffs’ financial difficulties. It will be the jury’s job—with

the able assistance of the parties—to sort through the various causes of Plaintiffs’ stress.

               2.      Credit Harm

       Finally, Wells Fargo seeks summary judgment on Plaintiffs’ “claims of credit harm”

because those claims “have no evidentiary basis.” (Def.’s Br. at 24–25.) On this issue, Wells

Fargo is on more solid ground. As with all their claims, Plaintiffs must present some evidence of

harm to their credit to survive summary judgment. See, e.g., Bomar, 2017 WL 1478084, at *4

(granting summary judgment where plaintiff “offered no evidence . . . establishing that his credit

score was diminished”). To do so in this case, Plaintiffs present nothing more than a few links to

the websites of various credit reporting agencies discussing the “adverse credit impact of

foreclosure and bankruptcy.” (Pl.s’ Opp. at 32.) They argue that “[i]t takes neither a rocket

scientist nor a Rhodes scholar to understand that having a completed foreclosure and a Chapter

7 bankruptcy on your credit report destroys your credit standing.” Id. But whether such a link is

obvious to Plaintiffs, it still requires some evidence in the record to survive, and neither Plaintiffs’

response to Defendant’s Statement of Facts nor Plaintiffs’ Statement of Additional Material Facts

even discuss Plaintiffs’ credit. To the contrary, Mr. Garcia testified that he did not recall attempting

to learn his actual score before or after the foreclosure. (E. Garcia Dep. at 248:18–21.)

       Plaintiffs’ failure to provide any evidence on credit damage is particularly troublesome in

a case like this, where Plaintiffs defaulted on their auto loan and their mortgage well before Wells

Fargo’s HAMP-related misconduct.          (See DSOF ¶¶ 16–21.) Moreover, given that Plaintiffs

discharged $130,000 in unsecured debt in bankruptcy, it is not obvious that they would have

avoided bankruptcy even if they had secured the HAMP modification. (See DSOF ¶ 44.) Plaintiffs

do not discuss how their credit would have been affected had they declared bankruptcy without

facing foreclosure. In short, because Plaintiffs provide no evidence of credit harm, the court grants

summary judgment as to credit damages.



                                                  43
                                         CONCLUSION

        For the reasons discussed above, the court denies Defendant’s motion for summary

judgment [100] except as to credit-related damages. The court had stricken the trial date pending

its ruling on this motion. The parties are directed now to meet and confer regarding proposed trial

dates. A report setting forth proposed trial dates shall be submitted on or before February 28,

2023.

                                                 ENTER:



Dated: January 30, 2023                          ______________________________________
                                                 REBECCA R. PALLMEYER
                                                 United States District Judge




                                                44
